Case 8:04-cr-00235-DKC Document 168454 Filed 06/20/14 Page 1 of 1 PARE B
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. . PO Bor 17423
~ Washington, DC 20041
U.S. Customs and
Border Protection
April 8, 2005
Port Case No.

2004-5401-000221-01

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Ms. Lavon D. Dobie - 044198
22880 Whelan Lane
Boyds, MD 20841

Re: 172 Pieces of Jewelry
Dear Ms. Dobie:

This is in response to your claim form and request to forward this case to the U.S.
Attomey for court action. The United States Attorney decision has made the decision
that Judicial action will not be pursued on this case. em

The property will be available for release upon receipt of the enclosed signed and
notarized Hold Harmless Agreement. If you wish to have the property released to
another Individual acting on your behalf, sign and have notarized the attached
Designation of Representative and Limited Power of Attorney. A picture identification

will be required for that person to pick up the property. Both of these documents must
be notarized and the original signed and notarized documents retumed to this office,

If you have any questions regarding this matter please contact me at (703) 318-5900
ext. 212.

Sincerely,

Julie E. Bedenbaugh
Fines, Penalties, and forfeitures Officer
Port of Washington, D.C.

Enclosures
-Hold Harmless Agreement
-Designation of Representative and Limited Power of Attorney
